       Case 6:24-bk-10411-SY Doc 12 Filed 02/20/24 Entered 02/20/24 09:10:29                                           Desc
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Rev. 06/2017

                                        United States Bankruptcy Court
                                          Central District of California
                                        3420 Twelfth Street, Riverside, CA 92501−3819

                       ORDER AND NOTICE OF DISMISSAL
         ARISING FROM DEBTOR'S REQUEST FOR VOLUNTARY DISMISSAL OF
                        CHAPTER 13 [11 U.S.C. § 1307(b)]
    DEBTOR INFORMATION:                                                            BANKRUPTCY NO. 6:24−bk−10411−SY
    Jeffrey James Greene
                                                                             CHAPTER 13
    Last four digits of Social−Security or Individual Taxpayer−Identification (ITIN) No(s)., (if any): xxx−xx−3023
    Employer Tax−Identification (EIN) No(s).(if any): N/A
    Debtor Dismissal Date: 2/20/24


    Address:
    38179 Paradise Way
    Cathedral City, CA 92234


Based on debtor's request, IT IS ORDERED THAT:

(1) debtor's bankruptcy case is dismissed; and
(2) the court retains jurisdiction on all issues involving sanctions, any bar against being a debtor in bankruptcy, all issues arising
    under Bankruptcy Code §§ 105, 109(g), 110, 329, 349, and 362, and to any additional extent provided by law.




                                                                                  BY THE COURT,
Dated: February 20, 2024                                                          Scott H. Yun
                                                                                  United States Bankruptcy Judge




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